Case 5:20-cv-05823-EJD Documenti-1_ File
CIVIL COVER SHEET

The SS-CAND 44 civil cover sheet and the iiiformation contained herein neither replace ner supplement the filin
sxcept as provided by local rutes of court, This form, approved in its orlginal. form by. ihe Judicial Conference off

Sourt to initiate the civil docket sheel. (SAE INSTRUCTIONS ON NEXT PAGE OF THIS ForRM)

IS-CAND 44 (Rev. 07/19}
a

he United States in September 19

d 08/17/20 Pagelof1

nd service of pleadings or other papers as requized by lav,

, is required for ihe Clerk of

1, (a) PLAINTIFFS DEFENDANTS

County of Sauter Clara

(b} Countl of Resldence of First Listed Plaintiff
(EXCEPT IN US. PLAINTIFE CASES)

Ke Wala, CHUNYAy

County of Residence of First Listed D

(IN US. PLAINTIFF CASHS ONLY) shangh >, ohn
‘ 4

Venture ic , Malut Veatare Le
bedside Cepital LLC

More

Ge,

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
Santa dara THE TRACT OF LAND INVOLVED.
{co} Attaracys (Pits 9 Attomoys (if Known)

mn Nane, Address, and Telephage Numbge) bilo
Ward A Sicfold “%0 Wi Hadding Y, San ose, CA
4og— 299-674]

Il BASIS OF JURISDICTION sptace az “x? in One Box Only

f U.S. Government Plaintiff ~:3 Federal Question
{18 Government Not a Party)

IH, CITIZENSHIP OF PRINCIPAL PARTIES
(For Diversily Cases Only)

(Place an "XN" in One Bor for Plait

ant One Box for Defendant) & V I
4

PTF

KA

DEF
“|

Incorporated ar Principal Place

2 US. Government Defendant Ka Diversity O32 .
dicate Citizenship of Parties ii if : :
( euship af Parties on item Hi) Citizen or Subject ofa 3 6
Forelgn Country
FY, NATURE OF SUIT (Place an “X" ty Ong Bax Only) -
CONTRACT 7 nee: TORTS: - ONFELTUREPENALTY -<) 50s BANKRUPTCY i: TILER STATUTES -.
110 Insurance PERSONALINJORY  » “TERSONALINJURY : | 625 Drug Related Seizure of | .422 Appeal 28 USC § 158} :975 False Claims Act
120 Marine “910 Airplane ~",365 Personat injury Product | =. Property 21 USC § 881 |:.-423 Withdrawal 28 USC 2376 Qui Tam (31 USC
130 Miller Act ~ 315 Airplane Product Liability... _ Liability 1690 Other S157 -, SRA)
140 Nezotabiemusiano “320 Assault, Libel & Slander "367 Heallh Carel | Us *S LABOR: ROPERTY RIGHTS + -}° a0 se Reapporionnent
150 Recovery o: “Rio f E ‘ armaceutical Personal ; ire
Overpayment OF Liataity mployors Injury Product Llabliity |= Lo Falr Labor Standards Act 20- Copyrights 3430 Banks and Banking
Veterai’s Benefits , *2°9g8 Asbestos Personal hyju 3.720 LaborMontgement 77/830 Patent “450 Ci
i “| 340 Marine - my Relatlons 835 Patent Abbreviated New | 220 Vounmerce
151 Medicare Act i Product Liability m4 . a “460 Deponiati
23345 Marine Product Liability va _ [2740 Rethway Labor Act Drug Appileation : eponation —
152 Recovery of Defaulted ‘ PERSONAL PROFERTY + pa 470 Racketeer Influenced &
7 350 Motor Vehicic rn 20751 Fanilly end Medical ¥ 840 Trademark i Aone
Susdent Loans (Excludes ].— 370 Other Fraud Comip! Organizations
Veteraus} "7355 Motor Vehicle Product ane . Leave Act tT SOCIAL SECURITY"
153 Recovery of Liability 71 ruth in Leading 90 Other Labor Litigation > : J: 48) Consumer Credit
Pcavery oO: ae wet an
Overpaym ont “22460 Other Personal lnjury “BO Other Fersonnt Property |"=-79) Employee Retirement 61 BIA (13958) - "4a Telephone Consumer
¢Veleran's Benefit “962 Personal Injury Medical oe Damage Income Security Act wl 62 Black Lung (923) Protection Act
o ve Tan's, ene its Malpmetice oo gg5 Property D image Product TMMIGRATION: B63 DIWC/DIWW (405(g)} | 490 Cable/Sat TY
160 Stockholders’ Suits Lisbility ea 864 SSID Tide XVI "950 Securities/Commoadities/
190 Ober Conteh yf pe SRM RIGHTS S| SRUSONER PEATTIONS elton 865 RSI (405(9)) Exchange
traci Product Liabi = Tae ve = — nt i
196 Franchise TABI 440 Other Civil Righls HABEAS CORPUS [5465 Omer launigration FEDERAL TAX SUITS Ol oer er Actions
—— _-——| #41 Voting “1463 Allen Detainee Actions ~. B70 Taxes (U.S. Plaintiffor | + go Swine ural Acis
REAL PROPERTY: ~~] 442 Employment "530 Motions to Vacate Defendant) _ 499 Environmental Matiers
210 Laud Condemnation “443 Housings _ Sentence: 871 IRS—Thicd Party 26 USC 895 Freedom of Information
220 Forectosure Acconimedations 2.540 General § 7609 406 a -
230 Rent Lease & Ejechnent |: 2445 Amer, w/Disobilities— 2.535 Death Peiialty 396 Arbitration
: Employ melt las cit - “25899 Administrative Procedure
240 Toits to Land we ’ po SV OTHER
7446 Aaned, wiDisabilities-Other | “=. AcuReview or Appen of
245 Tort Product Liability - ™ ._ 540 Mandamis & Other Ageticy Decision
3¢.290 AI Ollser Real Property 2448 Eduction “2350 Civil Rights 2950 Constitutionnlily of Sinte
55 Prison Condition Statutes
“$60 Civil Detaince—
Conditions of
Conflnement
¥. ORIGIN (Piave an “X? in One Box Onlyy _. _ a
t Original 20> Removed from “43 Remended from Tg Reinstatedor 7 $ Transferred from 726 Mubidfetret oad Multidistrict
Proceeding State Court Appellate Court Reopened Another District (pce) Litigation-Transfer = Litiotion-Direct File
VE. CAUSEOF Cite thelLS, Civil Statute poser yell wou are fille. 1 lea jnriscitertonal statutes undess. diversth, meee
ACTION en 2OUG CO BIBFZ o 2

Bricf description of cause,

“Diversity”

dunsdiction

VII. REQUESTED IN - CHECK iF THIS1S ACLASS ACTION — DEMANDS MOKE.

Tan fj

CHECK YES only if demanded in complaint:

COMPLAINT; UNDER RULE 23, Fed. R. Civ. P. JURYDEMAND: Yes No
VUIT, RELATED CASE(S), suDGE > - ° DOCKET NUMBER

If ANY (See fastructions): “* mea 2 i
IX. DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2) | ) !
(Place au “X" Io Que Dox Only) “* SAN FRANCISCO/OAKLAND x SAN JOSE aS EUREKA-MCKINLEYVILLE

pate 8% Js 19/2020: SIGNATURE OF ATTORNEY OF RECORD

Bio Per 2

